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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )          CRIMINAL ACTION NO.
     v.                            )            2:12cr221-MHT
                                   )                 (WO)
TRACY LEE DASSEL                   )

                                ORDER

    In light of this court’s finding at sentencing that

defendant Tracy Lee Dassel knowingly and voluntarily

waived     her    right   to   request     a    sentence     reduction

pursuant     to    Amendment     782     to    the    United     States

Sentencing Guidelines, see Transcript (doc. no. 85) at

10-11, and as all parties concur with the court, it is

ORDERED that defendant Tracy Lee Dassel’s motion for

sentence reduction (doc. no. 782) is denied.

    DONE, this the 23rd day of February, 2016.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
